Filed 02/21/19                                     Case 18-27256                                    Doc 65



                                      UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF CALIFORNIA


           In re                                         )   Case No. 18-27256 - C - 13
           Daniel L. Hobbs,                              )   Docket Control No. DPC-1
                                     Debtor.             )   Document No. 42
                                                         )   Date: 02/20/2019
                                                         )   Time: 9:00 AM
                                                         )   DEPT: C



                                                        Order
           Findings of Fact and Conclusions of Law are stated in the Civil
           Minutes for the hearing.
                The Motion to Dismiss the Chapter 13 case filed by the Chapter
           13 Trustee having been presented to the court, and upon review of the
           pleadings, evidence, arguments of counsel, and good cause appearing,
                IT IS ORDERED that the Motion to Dismiss is granted and the case
           is dismissed.


                   February 21, 2019




           [42] - Motion/Application to Dismiss Case [DPC-1] Filed by Trustee David Cusick (isaf)
